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11 Plaintiffs’ Interim Co-Lead Counsel
12 [See Additional Counsel on Signature Page]
13
                        IN THE UNITED STATES DISTRICT COURT
14
                              FOR THE DISTRICT OF ARIZONA
15
   James Paul Mooney; and Lazy Coyote RV      CLASS ACTION
16 Village, LLC, on behalf of themselves and
   all others similarly situated,             LEAD CASE NO. 2:15-cv-01092-DGC
17
                                              (Consolidated with Case No. 2:15-cv-
18                Plaintiffs,                 01380-DGC)
19         v.                                    PLAINTIFFS’ NOTICE OF SERVICE
20                                               OF DEPOSITION NOTICES
     Union Pacific Railroad Company,
21   successor to Southern Pacific               Honorable David G. Campbell
     Transportation Company; SFPP, L.P.
22   (formerly known as Santa Fe Pacific
23   Pipelines, Inc., formerly known as
     Southern Pacific Pipelines, Inc.); Kinder
24   Morgan Operating L.P. “D”; and Kinder
     Morgan G.P., Inc.,
25
26                Defendants.

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                             PLAINTIFFS’ NOTICE OF SERVICE
                                OF DEPOSITION NOTICES
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 1        Pursuant to LRCiv 5.2, Plaintiffs James Paul Mooney and Lazy Coyote RV
 2 Village, LLC (“Plaintiffs”), file this Notice of Service of Discovery Responses informing
 3 the Court that, on the 3rd day of November 2017, Plaintiffs served the following
 4 deposition notices upon Defendants Union Pacific Railroad Company (formerly known as
 5 Southern Pacific Transportation Company), SFPP, L.P. (formerly known as Santa Fe
 6 Pacific Pipelines, Inc. and Southern Pacific Pipelines, Inc.), Kinder Morgan Operating
 7 L.P. “D”, and Kinder Morgan G.P., Inc., through their counsel of record:
 8             Notice of Videotaped Deposition of Jeff Glasgow;
 9             Notice of Videotaped Deposition of Union Pacific Railroad Company
10               Pursuant to Fed. R. Civ. P. 30(b)(6); and
11             Notice of Videotaped Deposition of Kinder Morgan Defendants Pursuant to
12               Fed. R. Civ. P. 30(b)(6)
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                           PLAINTIFFS’ NOTICE OF SERVICE
                              OF DEPOSITION NOTICES
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 1
     Dated: November 3, 2017                       Respectfully Submitted,
 2
                                                   /s/ Barrett J. Vahle
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 4   Elizabeth G. McCulley                         Barrett J. Vahle (admitted pro hac vice)
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25                                                 khonecker@roselawgroup.com
26                              Additional Plaintiffs’ Counsel
27
28
                                                 -3-
                          PLAINTIFFS’ NOTICE OF SERVICE
                             OF DEPOSITION NOTICES
       Case 2:15-cv-01092-DGC Document 305 Filed 11/03/17 Page 4 of 4



 1                                CERTIFICATE OF SERVICE
 2         I hereby certify that, on November 3, 2017, I electronically filed the above and
 3 foregoing with the Clerk of Court using the CM/ECF system, which transmitted notice of
 4 the filing to all counsel of record.
 5
 6                                        /s/ Barrett J. Vahle
                                          Barrett J. Vahle
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                             PLAINTIFFS’ NOTICE OF SERVICE
                                OF DEPOSITION NOTICES
